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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                            CR 15-22-BU-DLC
                       Plaintiff,
                                                     FINDINGS AND
        vs.                                        RECOMMENDATION
                                                   CONCERNING PLEA
 ERNEST KHALID CALVERT, JR., aka
 Jonathan, aka Brandon,

                       Defendant.



      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiracy to commit wire

fraud in violation of 18 U.S.C. § 371 (Count 1), and two counts of aggravated

identity theft, and aiding and abetting the same, in violation of 18 U.S.C. §§ 2 and

1028A(a)(l) (Counts 24 and 25), as set forth in the Indictment. In exchange for

Defendant's plea, the United States agrees to dismiss Counts 2-23, and 26-27 of

the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering informed

and voluntary pleas,

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      2. That the Defendant is aware of the nature of the charges against him and

consequences of pleading guilty to the charges,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the pleas of guilty are knowing and voluntary pleas, supported by

an independent basis in fact sufficient to prove each of the essential elements of

the offenses charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Counts 1,

and 24-25 of the Indictment, and that sentence be imposed. I further recommend

that Counts 2-23, and 26-27 of the Indictment be dismissed.

      This report is forwarded with the recommendation that the. Court defer

a decision re~:ardin~: acceptance until the Court has reviewed the Plea

A~:reement and the presentence report.


      DATED this 18th day of August



                                        er. miah C. Lynch
                                           ited States Magistrate Judge

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